Case 5:20-cv-02080-JWH-SP Document 20 Filed 07/15/21 Page 1 of 2 Page ID #:88



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  6

  7                            UNITED STATES DISTRICT COURT
  8                          CENTRAL DISTRICT OF CALIFORNIA
  9

 10    DEBORAHA SALCIDO,                               Case No. 5:20-cv-02080-JWH-SP
 11                       Plaintiff,
 12            v.                                      NOTICE OF SETTLEMENT
 13

 14
       SPECIALIZED LOAN
       SERVICING LLC,
 15                       Defendant.
 16

 17
             NOTICE IS HEREBY GIVEN that Plaintiff, Deboraha Salcido, and Defendant, Specialized
 18
      Loan Servicing LLC, have reached a settlement of the above-captioned action. The Parties
 19

 20   anticipate filing a stipulation of dismissal of this case, with prejudice, pursuant to Rule 41(a)(1) of

 21   the Federal Rules of Civil Procedure, within forty-five (45) days.

 22

 23   DATED this 15th day of July, 2021.                     Respectfully Submitted,
 24
                                                              /s/ Neda Farah
 25                                                          Neda Farah
                                                             FARAH LAW, P.C.
 26
                                                             265 S. Doheny Dr., Suite 102
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Case 5:20-cv-02080-JWH-SP Document 20 Filed 07/15/21 Page 2 of 2 Page ID #:89



  1                                                          neda@nedafarahlaw.com
  2                                                          Attorney for Plaintiff Deboraha Salcido
  3

  4                                      CERTIFICATE OF SERVICE

  5         The undersigned hereby certifies that a true and accurate copy of the foregoing Notice of
  6   Settlement is being filed electronically with the United States District Court for the Central District
  7
      of California on this 15th day of July, 2021. Notice of this filing will be transmitted to all counsel
  8
      of record via the Court’s CM/ECF filing system.
  9

 10
                                                              /s/ Neda Farah
 11                                                          Neda Farah
                                                             FARAH LAW, P.C.
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